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 AO 450 (Rev. 01/09) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                             for the
                                                              District of Kansas
                                                         __________ District of __________


                        TIMOTHY HAGER                                           )
                                Plaintiff
                                Plaintiff(s)                                    )
                                   v.                                           )       Civil Action No. 14-2237-JPO
                                                                                )
                  BNSF RAILWAY
                         DefendantCOMPANY
__________________________________________________________________________      )
                               Defendant(s)
                                                        JUDGMENT IN A CIVIL ACTION


 The court has ordered that (check one):

 u the plaintiff (name)                                                                                                 recover from the
 defendant (name)                                                                                                          the amount of
                                                                                 dollars ($                   ), which includes prejudgment
 interest at the rate of                       %, plus post judgment interest at the rate of                 %, per  annum,
                                                                                                                 along       along with costs.
                                                                                                                       with costs.
 u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                  recover costs from the plaintiff (name)
                                           .
 ✔
 u other:        Pursuant to the accepted offer of judgment (ECF docs. 56 and 58) the plaintiff shall recover from the
                 defendant $95,000.00. Each of the parties must pay his or its own costs, liens, and other encumbrances
                 accrued to date.                                                                                                                .


 This action was (check one):

 u tried by a jury with                                                                                       presiding, and the jury has
 rendered a verdict.
 u tried by                                                                                        without a jury and the above decision
 was reached.
 u decided by                                                                                          on a motion for




                                                                                       TIMOTHY M. O'BRIEN
 Date:           April 28, 2015                                                        CLERK OF COURT



                                                                                                       s/ Kathleen L. Grant
                                                                                                  Signature of Clerk or Deputy Clerk
